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                                                                                   2024 Sep-28 PM 01:56
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 ALABAMA COALITION FOR                    )
 IMMMIGRANT JUSTICE, et al.,              )
                                          )
       Plaintiffs,                        )
                                          ) Case No.: 2:24-cv-1254-AMM
 v.                                       )
                                          )
 WES ALLEN, in his Official               )
 Capacity as Alabama Secretary of         )
 State, et al.,                           )
                                          )
       Defendants.                        )


 UNITED STATES OF AMERICA, )
                                    )
      Plaintiff,                    )
                                    )
 v.                                 ) Case No.: 2:24-cv-1329-MHH
                                    )
 STATE OF ALABAMA and WES )
 ALLEN, in his Official Capacity as )
 Alabama Secretary of State,        )
                                    )
      Defendants.                   )
                                    )

                                      ORDER

      Under Federal Rule of Civil Procedure 42(a)(2), “[i]f actions before the court

involve a common question of law or fact, the court may . . . consolidate the actions.”

A district court’s decision whether to consolidate actions is “purely discretionary.”
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Eghnayem v. Boston Sci. Corp., 873 F.3d 1304, 1313 (11th Cir. 2017) (quoting

Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985)).

      District courts “have been urged to make good use of Rule 42(a) in order to

expedite the trial and eliminate unnecessary repetition and confusion.” Id. at 1314

(quoting Young v. City of Augusta, 59 F.3d 1160, 1169 (11th Cir. 1995)).

      To decide whether to consolidate actions, district courts consider the

following factors:

      Whether the specific risks of prejudice and possible confusion are
      overborne by the risk of inconsistent adjudications of common factual
      and legal issues, the burden on parties, witnesses and available judicial
      resources posed by multiple lawsuits, the length of time required to
      conclude multiple suits as against a single one, and the relative expense
      to all concerned of the single-trial, multiple-trial alternatives.

Id. at 1313 (cleaned up).

      Under the first-filed rule, this court has reviewed both complaints and now

consolidates these cases, which challenge the same action by the Alabama Secretary

of State and involve common factual and legal issues. The court takes this action sua

sponte in the light of the obvious time-sensitive nature of these lawsuits and the need

for judicial efficiency. The court sees no risk of prejudice or confusion as a result of

consolidation and expects that separate lawsuits would unduly burden the parties and

the court.

      If any party opposes consolidation at the present time, an appropriate motion

is due by Wednesday, October 2, 2024.
                                           2
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      Accordingly, the court ORDERS the consolidation of these two cases. All

filings in either case should be filed in the docket for BOTH cases. And the court

SETS a telephonic status conference for 2:00 p.m. Central Time on Monday,

September 30, 2024. The court will provide the dial-in information to counsel by e-

mail in advance of the conference.

      DONE and ORDERED this 28th day of September, 2024.



                                     _________________________________
                                     ANNA M. MANASCO
                                     UNITED STATES DISTRICT JUDGE




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